                                                                                                                  Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1224 Filed 09/12/23 Page 1 of 15


                                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                                       EASTERN DISTRICT OF MICHIGAN
                                                                                                                                             EASTERN DIVISION

                                                                                                                   BOND PHARMACY INC., d/b/a AIS
                                                                                                                   HEALTHCARE,                              Case No. 2:23-mc-51368-LVP-DRG
The Health Law Partners, P.C. - 32000 Northwestern Hwy., Ste. 240 – Farmington Hills, MI 48334 - (248) 996-8510




                                                                                                                                Plaintiff,                 District Judge: Hon. Linda V. Parker
                                                                                                                                                           Magistrate Judge: Hon. David Grand
                                                                                                                   vs.
                                                                                                                                                           NON-PARTIES’ OPPOSITION TO
                                                                                                                   ANTHEM HEALTH PLANS OF                  PLAINTIFF’S MOTION FOR
                                                                                                                                                           EXPEDITED BRIEFING
                                                                                                                   VIRGINIA, INC. d/b/a ANTHEM             SCHEDULE
                                                                                                                   BLUE CROSS AND BLUE SHIELD,             (E.D. Va. Case No. 1:22-cv-01343-
                                                                                                                                                           CMH-IDD) (Hon. Claude M. Hilton)
                                                                                                                               Defendants.
                                                                                                                   __________________________________________________________________/

                                                                                                                     SHEPPARD, MULLIN, RICHTER           THE HEALTH LAW PARTNERS,
                                                                                                                     & HAMPTON LLP                       P.C.
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                                                                                                                     Imad Matini                         Attorneys for Non-Parties
                                                                                                                     Amanda Witt                         The Health Law Partners, P.C.
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                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1225 Filed 09/12/23 Page 2 of 15


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                                                                                                                         NON-PARTIES’ BRIEF IN OPPOSITION TO
                                                                                                                        PLAINTIFF’S MOTION FOR AN EXPEDITED
                                                                                                                                 BRIEFING SCHEDULE
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                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1226 Filed 09/12/23 Page 3 of 15


                                                                                                                        CONCISE STATEMENT OF THE ISSUE PRESENTED

                                                                                                                   Whether this Court should issue Plaintiff’s requested expedited briefing

                                                                                                             schedule, which would alter the Local Rule 7.1(e)(1) Standard Briefing Schedule

                                                                                                             and place undue burden upon and force non-parties to respond to a lengthy Motion
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                                                                                                             in one day on an issue of great significance affecting other non-parties who are not

                                                                                                             directly involved in this discovery, when the requesting Plaintiff engaged in

                                                                                                             significant and unjustifiable delay; waited until the eleventh hour on the eve of the

                                                                                                             close of its fact discovery in the Eastern District of Virginia case (“EDVA Case”)

                                                                                                             to request relief; has requested an extension of fact discovery before; was well

                                                                                                             aware that fact discovery was closing in the EDVA Case on September 12, 2023;

                                                                                                             and, where the non-parties directly involved in discovery are in the process of

                                                                                                             retaining outside counsel, and where Plaintiff’s motion in chief, in large part, seeks

                                                                                                             to compel materials and testimony that invade the attorney-client privilege

                                                                                                             possessed by non-parties who are not directly involved in discovery?

                                                                                                                   ANSWER: No.




                                                                                                                                                       3
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1227 Filed 09/12/23 Page 4 of 15


                                                                                                                                MOST CONTROLLING AUTHORITY

                                                                                                             Local Rule 7.1

                                                                                                             Atlantech, Inc. v Am. Panel Corp., 11-50076, 2011 WL 2265539, at *2 (E.D.

                                                                                                             Mich. June 8, 2011). (emphasis added).
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                                                                                                             Black v Gordon, 1:20-CV-1143, 2020 WL 12618927, at *1 (W.D. Mich. Dec. 9,

                                                                                                             2020).

                                                                                                             Davis v Wayne County Election Commn., 20-11819, 2020 WL 7353475, at *2

                                                                                                             (E.D. Mich Dec. 15, 2020)




                                                                                                                                                      4
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1228 Filed 09/12/23 Page 5 of 15


                                                                                                                                             INTRODUCTION

                                                                                                                   Non-Parties, The Health Law Partners, P.C. and Robert Dindoffer, Esq. (the

                                                                                                             “HLP Parties”) respectfully submit this memorandum of law in support of their

                                                                                                             opposition to Plaintiff, Bond Pharmacy, Inc. d/b/a AIS Healthcare’s (“AIS”),
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                                                                                                             motion for an expedited briefing schedule.

                                                                                                                   Plaintiff AIS asks this Court to order an expedited briefing schedule and

                                                                                                             expedited consideration of its Motion For An Order Compelling Production Of

                                                                                                             Documents And Testimony against the non-party HLP Parties. For all the

                                                                                                             following reasons, an expedited briefing schedule or any alteration of the Local

                                                                                                             Rule 7.1(e) Standard Briefing schedule should be denied in its entirety.

                                                                                                                                              BACKGROUND

                                                                                                                   This matter arises from AIS’s breach of contract lawsuit pending in the

                                                                                                             United States District Court for the Eastern District of Virginia (“EDVA”) against

                                                                                                             Anthem Health Plans of Virginia, Inc., d/b/a Anthem Blue Cross Blue Shield

                                                                                                             (“Anthem”).

                                                                                                                   On August 16, 2023, AIS issued a subpoena in the EDVA Case for non-

                                                                                                             privileged documents and for deposition testimony to the HLP. (“Subpoena;”

                                                                                                             EXHIBIT 1). This was less than a month before the September 12, 2023, closing

                                                                                                             of fact discovery in AIS/Anthem’s EDVA Case. (EXHIBIT 2).

                                                                                                                   Notably, fact discovery (as well as other EDVA case deadlines) have been

                                                                                                             extended before. On April 13, 2023, Bond Pharmacy filed a Consent Motion for

                                                                                                                                                      5
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1229 Filed 09/12/23 Page 6 of 15


                                                                                                             Extension of Time to Complete Discovery, which was granted by the EDVA court,

                                                                                                             moving the close of fact discovery from July 14, 2023, to September 12, 2023.

                                                                                                             (Id.). On June 28, 2023, a Joint Motion was submitted to the Court requesting

                                                                                                             extension of other deadlines, but stating that “The close of fact discovery,
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                                                                                                             scheduled for September 12, 2023, will not be extended.” (EXHIBIT 3). As such,

                                                                                                             Plaintiff was well aware of the looming fact discovery deadline.

                                                                                                                   Upon receipt of the Subpoena, Counsel for HLP worked diligently and

                                                                                                             tirelessly with AIS regarding search parameters, deposition parameters, and to

                                                                                                             provide responsive documents. (Declaration of Clinton Mikel, dated September 12,

                                                                                                             2023 (“Decl. Mikel”), ¶ 3).

                                                                                                                   Orally, counsel for AIS represented to HLP’s counsel that, if an HLP

                                                                                                             representative were to sit for a deposition, AIS would not inquire about, and had no

                                                                                                             interest in, HLP’s client(s) name(s), or other privileged matters. (Decl. Mikel, ¶ 4).

                                                                                                             Based on this explicit oral representation made by AIS’s counsel, that no

                                                                                                             inquiry would be made regarding the identity of HLP’s client, HLP agreed to

                                                                                                             and promptly produced Robert Dindoffer, Esq. to sit for a September 1, 2023,

                                                                                                             deposition without filing a Motion to Quash/seeking a Protective Order. (Decl.

                                                                                                             Mikel, ¶ 5).

                                                                                                                   As to document production, counsel for HLP promptly and fully provided all

                                                                                                             relevant, non-privileged information, finalizing its production on August 21, 2023.

                                                                                                             (Decl. Mikel, ¶ 6).

                                                                                                                                                       6
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1230 Filed 09/12/23 Page 7 of 15


                                                                                                             Eleven (11) days then lapsed with AIS having the entirety of HLP’s document

                                                                                                             production. AIS raised no issues regarding the document production. (Decl. Mikel,

                                                                                                             ¶ 7).

                                                                                                                     At the September 1, 2023, deposition it became clear, near the outset, that
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                                                                                                             counsel for AIS had mislead HLP’s counsel and was not honoring their oral

                                                                                                             representation/promises to HLP’s counsel regarding the agreed to metes and

                                                                                                             bounds of subject-matter areas of questioning. In stark contrast to what was

                                                                                                             promised, counsel for AIS sought privileged, non-relevant, information, including

                                                                                                             the name of HLP’s third-party client. (Decl. Mikel, ¶ 8).

                                                                                                                     Blindsided by AIS’s misrepresentations, during the deposition, HLP’s

                                                                                                             counsel lodged various objections based on attorney-client privilege and, in

                                                                                                             tandem, instructed the HLP witness to refuse to answer on FRCP 30(c)(2) bases

                                                                                                             (“A person may instruct a deponent not to answer only when necessary to preserve

                                                                                                             a privilege…”). (Decl. Mikel, ¶ 9).

                                                                                                                     At the eleventh hour, on Monday, September 11, 2023, AIS filed 3 motions

                                                                                                             in this Court (Motion to Seal; Expedited Motion to Compel; and Motion for an

                                                                                                             Expediting Briefing Schedule). At the same time in the EDVA, AIS has filed a

                                                                                                             Motion to Extend Fact Discovery. (EXHIBIT 4).1 In sum, AIS:



                                                                                                             1
                                                                                                              Obviously, if granted, the EDVA Motion would obviate the need for an expedited briefing
                                                                                                             schedule.

                                                                                                             AIS’s EDVA Motion makes it clear that “A brief extension will afford the District Court for the
                                                                                                             Eastern District of Michigan sufficient time to rule on AIS’s Motion to Compel.”
                                                                                                                                                              7
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1231 Filed 09/12/23 Page 8 of 15


                                                                                                                         Issued an August 16, 2023, subpoena;

                                                                                                                         Received all subpoenaed documents by August 21;

                                                                                                                         Waited 11-days before raising a single issue (lack of engagement letter)

                                                                                                                             related to the subpoena. This issue was raised, bizarrely, during the
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                                                                                                                             course of a deposition;

                                                                                                                         Waits another 7-days after the deposition to raise any issues with

                                                                                                                             counsel for HLP; and

                                                                                                                         Waits another 3-days (totaling 20 days after receiving all subpoenaed

                                                                                                                             documents) to file a Motion for Expedited Briefing Schedule, the day

                                                                                                                             before their fact discovery closes.

                                                                                                                 At no time during this process did AIS attempt or allow2 dialogue as to why HLP

                                                                                                             asserted privilege over the Anonymous 3rd Party Client(s) identity, any issues with

                                                                                                             discovery provided, et cetera.

                                                                                                                      Given the importance of the attorney client privilege, the HLP Parties are in

                                                                                                             the process of retaining outside counsel to address the motion in chief and have

                                                                                                             recently learned that the court in the EDVA Case has set a hearing on Defendant

                                                                                                             Anthem’s motion for a protective order for October 13, 2023, regarding an

                                                                                                             additional party deposition (EXHIBIT 5), demonstrating that even the EDVA does

                                                                                                             not consider Plaintiff’s expanded discovery requests to be an emergency.


                                                                                                             2
                                                                                                              HLP’s counsel insisted that AIS conduct a meet and confer, over their objections, on September 11. The meet and
                                                                                                             confer was brief, and AIS refused to dialogue on substantive issues, and refused offers by HLP’s counsel to resolve
                                                                                                             the matter.
                                                                                                                                                                      8
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1232 Filed 09/12/23 Page 9 of 15


                                                                                                                                                ARGUMENT

                                                                                                                   This Court should not grant an expedited briefing schedule or vary from the

                                                                                                             Standard Briefing Schedule provided for by Local Rules 7.1(e). To

                                                                                                             jam/pressure/burden a fellow non-party law firm and avoid proper briefing, and
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                                                                                                             despite HLP’s repeated efforts to work with AIS and its counsel, AIS and its

                                                                                                             Counsel delayed/refused to discuss and resolve matters, while simultaneously

                                                                                                             seeking to force an expedited briefing schedule, citing a “District courts[‘]… broad

                                                                                                             discretion under the rules of civil procedure to manage the discovery process and

                                                                                                             control their dockets.” Drews v. Am. Airlines, 68 F. Supp. 3d 734, 744 (E.D. Mich.

                                                                                                             2014) (citing Marie v. Am. Red Cross, 771 F.3d 344, 366 (6th Cir. 2014). For all

                                                                                                             the following reasons, Plaintiff’s motion should be denied in its entirety.

                                                                                                                   1. Plaintiff Seek to Place Undue Burden on Non-Parties

                                                                                                                   Aside from Plaintiff seeking improper tactical advantage by attempting to

                                                                                                             force a short briefing schedule, the Court should weigh the burden placed on a non-

                                                                                                             party. Conspicuously, AIS seeks a Motion to Compel response today, September

                                                                                                             12, 2023, mere hours after they filed their Motion, with a hearing on Thursday,

                                                                                                             September 14, 2023. The Non-Parties HLP will not have even been properly

                                                                                                             served by the time that AIS asserts that this Court should conduct a hearing. The

                                                                                                             Eastern District of Michigan has considered burdens placed on non-parties with

                                                                                                             expedited briefing schedules and denied such requests. For example, in one case,

                                                                                                             the court stated:

                                                                                                                                                       9
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1233 Filed 09/12/23 Page 10 of 15


                                                                                                                          The Court finds an expedited briefing schedule to be
                                                                                                                          an onerous burden to place on a non-party in a case
                                                                                                                          that Plaintiff filed on February 21, 2007, over three
                                                                                                                          years prior to serving Respondent with Plaintiff's first
                                                                                                                          subpoena. Thus, the Court does not find that Plaintiff's
                                                                                                                          most recent assertions in its Motion to Compel show the
                                                                                                                          Court's prior denial of Plaintiff's request for an expedited
                                                                                                                          briefing schedule was the result of a palpable defect.
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                                                                                                                          Accordingly, the Court denies Plaintiff's second request
                                                                                                                          for an expedited briefing schedule in this matter.

                                                                                                             Atlantech, Inc. v Am. Panel Corp., 11-50076, 2011 WL 2265539, at *2 (E.D.

                                                                                                             Mich. June 8, 2011). (emphasis added). Like Atlantech, this court should consider

                                                                                                             the undue burden on non-parties, HLP, to respond to a motion that was obviously

                                                                                                             being prepared for numerous days, sprung on non-parties, and offers no time to

                                                                                                             properly brief the complex issues, in which HLP will be fighting to prevent

                                                                                                             Plaintiff’s improper and blatant attempt to invade the most sacred of privileges -

                                                                                                             the attorney client privilege. Given what is at stake, and the complexity of the

                                                                                                             issues, the burden sought to be placed on non-parties is too much to ask anyone to

                                                                                                             shoulder, and the motion should be denied on this basis alone.

                                                                                                                   2. Plaintiff Does Not Show Proper Cause to Alter Standard Briefing

                                                                                                                   As mentioned above, AIS seeks a Motion to Compel response today,

                                                                                                             September 12, 2023, mere hours after they filed their Motion, with a hearing on

                                                                                                             Thursday, September 14, 2023. Non-party HLP will not have even been

                                                                                                             properly served by the time that AIS asserts that this Court should conduct a

                                                                                                             hearing. AIS’s delay and then crunch actions are transparent – they merely want to

                                                                                                             pressure and prevent a fully informed hearing. Were this Court to compel HLP to
                                                                                                                                                       10
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1234 Filed 09/12/23 Page 11 of 15


                                                                                                             provide further information or testimony to AIS, HLP would not raise objections

                                                                                                             that AIS’s discovery period (which they have sought to extend) was closed.

                                                                                                             Moreover, the fact that AIS’s discovery period is closing is something of which

                                                                                                             they were well (and long) aware. The simple passage of time is not an emergency.
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                                                                                                             For example, the Eastern District of Michigan has stated:

                                                                                                                          Davis's August 13, 2020 Emergency Motion to Expedite
                                                                                                                          asked this Court to order expedited briefing by
                                                                                                                          Defendants, and expedited scheduling and adjudication
                                                                                                                          by the Court, of Davis's August 13th Motion to Amend,
                                                                                                                          so that Plaintiff have a ruling prior to the date on which
                                                                                                                          his response to the Commission's Motion to Dismiss
                                                                                                                          would be due – which was August 17th. This is
                                                                                                                          nonsense. In essence, Davis's counsel asked the Court to
                                                                                                                          order near immediate response briefs from Defendants,2
                                                                                                                          and issue a near immediate ruling on his Motion to
                                                                                                                          Amend, so that Davis would have a decision on his
                                                                                                                          motion before his brief in response to the Commission's
                                                                                                                          Motion to Dismiss was due. That is not an emergency.

                                                                                                             Davis v Wayne County Election Commn., 20-11819, 2020 WL 7353475, at *2

                                                                                                             (E.D. Mich Dec. 15, 2020) (emphasis added). The Court denied the motion and

                                                                                                             cautioned Davis's counsel that the Court may impose sanctions if he continues to

                                                                                                             file frivolous “emergency” motions that are simply based on his desire for

                                                                                                             immediate rulings by the Court, rather than any circumstance constituting an

                                                                                                             actual emergency.” Id.

                                                                                                                   Similarly, here, Plaintiff seeks to declare an emergency based on delays that

                                                                                                             were of their own making. It is apparent that the discovery issues that Plaintiff



                                                                                                                                                       11
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1235 Filed 09/12/23 Page 12 of 15


                                                                                                             attempts to paint as an emergency are not so, given the EDVA Court’s hearing date

                                                                                                             on a separate protective order for October 13, 2023.

                                                                                                                    Unlike the Eastern District of Michigan, the Western District of Michigan

                                                                                                             has a local rule providing that a moving party must demonstrate that the “motion
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                                                                                                             may be rendered moot before the motion is briefed in accordance with the

                                                                                                             schedules set forth herein[.]” W.D. Mich. LCivR 7.1(e). Black v Gordon, 1:20-CV-

                                                                                                             1143, 2020 WL 12618927, at *1 (W.D. Mich. Dec. 9, 2020).

                                                                                                                   Even if this Court was to consider the WDMI rule, the Plaintiff has not

                                                                                                             shown that the relief sought would be moot, only that the Court’s fact discovery

                                                                                                             deadline “might” expire, which again is a problem of Plaintiff’s own making. As

                                                                                                             Block stated, “The federal and local rules provide a mechanism for granting

                                                                                                             expedited relief. But, those rules contain procedural protections for the non-

                                                                                                             moving party, which much be overcome for the Court to grant any relief.” Black v

                                                                                                             Gordon, 1:20-CV-1143, 2020 WL 12618927, at *1 (W.D. Mich Dec. 9, 2020).

                                                                                                                   Here, Plaintiff seeks to ignore procedural rules and protections and the

                                                                                                             EDVA’s fact discovery deadline and force a non-party law firm to address

                                                                                                             important privilege issues on an artificial timeline. For this reason alone, the

                                                                                                             motion should be denied.

                                                                                                                   3. The HLP Parties Are in the Process of Retaining Outside Counsel

                                                                                                                   Finally, given the importance of the attorney client privilege issue to both

                                                                                                             HLP and other non-parties possessing the privilege at stake, HLP is in the process

                                                                                                                                                       12
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1236 Filed 09/12/23 Page 13 of 15


                                                                                                             of retaining outside counsel to protect its rights and the rights of its clients. Outside

                                                                                                             counsel is coming up to speed, intend to enter a notice of appearance, and will be

                                                                                                             prepared to respond with the Standard Briefing timeless. As such, HLP requests

                                                                                                             that the motion be denied so that HLP may finish obtaining outside counsel and
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                                                                                                             prepare a proper response.

                                                                                                                   4. Conclusion

                                                                                                                   The motion should be denied as Plaintiff seeks to impose improper burden

                                                                                                             on a non-party, has not demonstrated good cause to change the Standing Briefing

                                                                                                             timeline, and there is no emergency other than one of Plaintiff’s making.


                                                                                                             Dated: September 12, 2023,                   Respectfully submitted,
                                                                                                                                                      THE HEALTH LAW PARTNERS, P.C.

                                                                                                                                                      /s/ Clinton Mikel
                                                                                                                                                      Clinton Mikel, (P73496),
                                                                                                                                                      Attorney for Non-Parties
                                                                                                                                                      The Health Law Partners, P.C.
                                                                                                                                                      and Robert Dindoffer, Esq.
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                                                                                                                                                        13
                                                                                                            Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1237 Filed 09/12/23 Page 14 of 15


                                                                                                                                       CERTIFICATE OF SERVICE

                                                                                                                    I certify that on September 12 , 2023, I electronically filed the foregoing with
                                                                                                             the Clerk of the Court by using the CM/ECF system which will send email notification
                                                                                                             of electronic filing to counsel for all parties of record.

                                                                                                                                                            s/Clinton Mikel
                                                                                                                                                            Clinton Mikel
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                                                                                                                                                            The Health Law Partners, P.C.
                                                                                                                                                            Attorney for Non-Parties
                                                                                                                                                            The Health Law Partners, P.C.
                                                                                                                                                            and Robert Dindoffer, Esq.
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                                                                                                                                                            Farmington Hills, MI 48334




                                                                                                                                                       14
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                                                                                                                  4862-4848-9589, v. 1
                                                                                                                                         Case 2:23-mc-51368-LVP-DRG ECF No. 14, PageID.1238 Filed 09/12/23 Page 15 of 15
